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EXHIBIT D

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NYS Department of State

Division of Corporations

Entity Information

The information contained in this database is current through August I1, 2017.

Selected Entity Name: BILLET, FEIT AND PREIS, C.P.A., P.C.
Selected Entity Status Information

Current Entity Name: BILLET, FEIT AND PREIS, C.P.A., P.C.

DOS ID #: 389282
Initial DOS Filing Date: JANUARY 15, 1976
County: NEW YORK
Jurisdiction: NEW YORK

Entity Type: DOMESTIC PROFESSIONAL CORPORATION
Current Entity Status: ACTIVE

Selected Entity Address Information
DOS Process (Address to which DOS will mail process if accepted on behalf of the entity)
BILLET, FEIT AND PREIS, C.P.A., P.C.

42 BROADWAY
NEW YORK, NEW YORK, 10004

Chief Executive Officer

YUSSIE STEIER
42 BROADWAY
NEW YORK, NEW YORK, 10004

Principal Executive Office

YUSSIE STEIER
42 BROADWAY
NEW YORK, NEW YORK, 10004

https://appext20.dos.ny.gov/corp_public/CORPSEARCH.ENTIT Y_INFO...ype=%41&p_search_type=%42%45%47%49%4E%538&p_srch_results_page=0 Page lof 3
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Entity Information

Registered Agent
NONE

This office does not record information regarding the
names and addresses of officers, shareholders or
directors of nonprofessional corporations except the
chief executive officer, if provided, which would be
listed above. Professional corporations must include
the name(s) and address(es) of the initial officers,
directors, and shareholders in the initial certificate of
incorporation, however this information is not
recorded and only available by viewing the certificate.

*Stock Information

# of Shares Type of Stock $ Value per Share
200 No Par Value

**Stock information is applicable to domestic business corporations.

Name History

Filing Date Name Type Entity Name
JUN 08, 1990 Actual BILLET, FEIT AND PREIS, C.P.A., P.C.
OCT 21, 1987 Actual SCHMELL, BILLET AND FEIT, C.P.A., P.C.
APR 25, 1986 Actual SCHMELL, BILLET, YURMAN AND FEIT, C.P.A., P.C.
MAR 10, 1978 Actual SCHMELL AND BILLET, P. C.
JAN 15,1976 Actual SPILKY AND BILLET, P.C.

A Fictitious name must be used when the Actual name of a foreign entity is unavailable for use in New York
State. The entity must use the fictitious name when conducting its activities or business in New York State.

NOTE: New York State does not issue organizational identification numbers.

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